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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

DAVIES ENTERPRISES, LLC, CRUISING §
KITCHENS, LLC, CAMERON DAVIES & §

MARY K. DAVIES §

Plaintiffs
Vv. § CIVIL CASE NO.: 5:23-CV-01527-JKP-HJB
BLUE SKY BANK & MARK C. TAYLOR

Defendants ;

PLAINTIFES’ MOTION TO REMAND

TO THE HONORABLE JUDGE PULIAM:

COMES NOW, Plaintiffs, Davies Enterprises, LLC, Cruising Kitchens, LLC, Cameron
Davies and Mary K. Davies (hereinafter collectively “Plaintiffs”) and file this Motion to Remand
respectfully requesting that this Court reject Defendants’ previous improper removal, remand this
matter to state court. In this regard, Plaintiffs would respectfully show unto this Honorable Court
the following:

I. INTRODUCTION AND PROCEDURAL HISTORY

1. On or about August 25, 2021, Plaintiffs and Defendant Blue Sky Bank entered into entered into’
several Deed of Trust, Security Agreement and Fixture Filing documents plus Commercial Loan
Agreements and associated Promissory Notes and /or guarantees of those various obligations
(collectively the “Loan Documents”), On or about November 13, 2023, Defendant, Mark C.
Taylor, sent three (3) Notices of Substitute Trustee’s Sale seeking to non-judicially foreclose upon
three (3) tracts of real property and improvements on December 5, 2023. This lawsuit was
originally filed by Plaintiffs in the 438" Judicial District Court of Bexar County, Texas on or about

December 4, 2023. A true and correct copy of Plaintiffs’ Original Petition for Injunctive Relief
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and Damages (“Plaintiffs’ Original Petition”) is attached hereto as Exhibit A and incorporated by
reference herein as if fully copied and set forth at length. On December 4, 2023, Plaintiffs
requested, and were granted, a Temporary Restraining Order against Defendants to prevent the
attempted non-judicial foreclosure, A true and correct copy of the Temporary Restraining Order is
attached hereto as Exhibit B and incorporated by reference herein as if fully copied and set forth
at length.

2. The lawsuit alleges claim against both initial Defendants, Blue Sky Bank and Mark C. Taylor,
arising out of efforts of Defendants to proceed with a non-judicial foreclosure on certain real
property and improvements located in Bexar County, Texas. These claims included breach of
contract, fraud, tortious interference with contract, declaratory judgment and injunctive relief.
Specifically, the Plaintiffs alleged in the Plaintiffs’ Original Petition that Defendant, Mark C.
Taylor breached written contracts by failing to provide proper notices to Plaintiffs as required by
the loan documents and Texas law and also in breach of the written Forbearance Agreement.

3. A Temporary Injunction hearing was scheduled for December 18, 2023, beginning at 9:00 a.m.
in the presiding district court for Bexar County, Texas. This case was removed by Defendants on
December 14, 2023, based upon diversity jurisdiction pursuant to 28 U.S.C. §1332(a). See Notice
of Removal, Document 1, paragraph 8.

4. On or about December 27, 2023, Defendant, Mark C. Taylor sent an email to counsel for
Plaintiffs advising that Defendants intend to file a Rule 12(b)(6)/12(c) Motion and advising of the
alleged deficiencies in the Plaintiffs’ Original Petition. On or about January 2, 2024, Plaintiffs
filed a formal advisory with the Court advising that Plaintiffs intended to amend their complaint

and on or about January 8, 2024, Plaintiffs filed their First Amended Complaint pursuant to this
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Court’s Standing Order in Civil Cases assigned to Judge Jason Pulliam. See Plaintiffs’ First
Amended Complaint, Document 8.

5. On or about January 8, 2024, Plaintiffs filed an Opposed Motion for Leave to Join Party (Motion
for Leave’) seeking leave to join Erik White as a named Defendant in this matter. See Motion for
Leave to Join Party, Document 7. This Motion for Leave remains pending at the time of the filing
of this Motion to Remand.

5. Plaintiffs’ Motion to Remand is timely filed within the 30-day period provided by 28 U.S.C.
§1447,

6. Since Defendant, Mark C. Taylor, and potential Defendant, Erik White, are both Texas citizens
the complete diversity required for diversity jurisdiction does not exist in this case and Plaintiffs
respectfully request that this Court remand this case back to District Court of Bexar County. ,
Texas.

H. ARGUMENTS AND AUTHORITIES

STANDARD OF REVIEW

7. Federal courts are courts of limited jurisdiction and can only hear cases permitted under Article
IJ of the Constitution and through a “jurisdictional grant authorized by Congress.” Jn re Fraser,
75 F. Supp. 2d 572, 576 (E.D. Tex. 1999). Federal Courts are “duty-bound to examine their own
subject-matter jurisdiction and may not proceed where it is apparent that jurisdiction does not
exist.” Texas Medicine Resources, LLP v. Molina Healthcare of Texas, Inc., 356 F. Supp. 3d 612,
615 (N.D. Tex. 2019, (citing Union Planiers Bank National Association v. Salih, 369 F. 3d 457,
460 (5" Cir. 2004)). If the court’s subject matter jurisdiction is challenged, “the burden of proof
falls on the party claiming jurisdiction, and the showing must be made by a preponderance of the

evidence.” Vantage Trailers v. Beall Corporation, 567 F. 3d 745, 748 (5" Cir. 2009).
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8. Importantly, “any ambiguities are construed against removal because the removal statute should
be strictly construed in favor of remand.” Manguno v. Prudential Property & Casualty Insurance
Company, 276 F. 3d 720, 723 (5 Cir. 2002). Likewise, any “doubts regarding whether removal
jurisdiction is proper should be resolved against federal jurisdiction.” Texas Medicine Resources,
LEP, at 616. If subject matter jurisdiction does not exist, “a federal court must remand the suit to
the state court where it originated.” Nelson v. St. Paul Fire & Marine Insurance Company, 897 F.
Supp. 328, 330 (S.D. Tex. 1995).

NO DIVERSITY JURISDICTION

A. J oinder of Defendant Erik White Will Destroy Diversity

9. In their Motion for Leave Plaintiffs seek leave to join Texas citizen, Erik White, as a Defendant
based on acts and omissions of Erik White that were included in the Plaintiffs’ Original Petition.
In the event that the Motion for Leave is granted, joinder of Defendant, Erik White, will destroy
the complete diversity required for this Court to maintain diversity jurisdiction. Cobb v. Delta
Exports, Inc., 186 F. 3d 675, 677 (5" Cir. 1999). In addition, joinder of Defendant, Erik White,
will destroy diversity jurisdiction under the in-state Defendant barrier. See Crockett v. Ru.
Reynolds Tobacco Company, 436 F. 3d 529, 532 (5" Cir. 2006).

B. Defendant Mark C. Taylor is Not a Nominal Defendant

10. Defendants allege in the notice of removal that the citizenship of Defendant Mark C. Taylor is
disregarded for purposes of diversity jurisdiction because Defendant, Mark C. Tayor is nominal
party citing Hisenberg v. Deuische Ban Trust Co. Americas, SA-11-CV-384-XR, 2011 WL
2636135 (W.D. Tex. July 5, 2011) in support of this proposition. This is true if, but only if, three

conditions are met including, in applicable part, that the plaintiff did not allege defects in notice or
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other misconduct by the trustee. This requirement is clearly not met in this case because Plaintiffs
have alleged defects in notice and a breach of contract by the trustee, Defendant Mark C. Taylor.
11. In a very similar case Honorable Judge Orlando L. Garcia found that “[hlowever, in
circumstances where a plaintiff asserts actual misconduct on the part of the trustee, a court must
assess whether such allegations give rise to a reasonable basis for the plaintiff to recover against
the trustee in state court.” Huerta v. United States Bank N_A., No. SA-13-CV-00987-OLG, 2014
WL 12586774 (W.D. Tex. April 28, 2014). In analyzing the caselaw regarding this issue, Judge
Garcia noted that “[w]hen presented with lack of notice claims against non-diverse trustees, other
federal district courts have declined to find improper joinder and have remanded the cases.” Supra
at 2 (internal citations omitted). In this case, there is no joinder issue because the initial lawsuit
named the substitute trustee, Defendant, Mark C. Taylor, as a party and made direct claims against
him. Under these circumstances it is clear that the required complete diversity does not exist in
this case.

12. In the Huerta case, Judge Garcia discusses the notice requirements contained in §51.002 of the
Texas Property Code and finds that these duties may also apply to the trustee citing First State
Bank v. Keilman, 851 8.W. 2d 914, 924 (Tex App.- Austin 1993, writ denied). “Federal courts
applying Texas law have consistently held that the Property Code requires that a debtor be served
with two notices prior to foreclosure: a notice of default and a notice of sale.” Huerta, at 2. Judge
Garcia analyzes several cases that have found allegations concerning lack of the required notices
is sufficient to make the trustee more than a nominal party and are sufficient to require a remand.
In summary, Judge Garcia finds that “ [t]hese cases affirm that a trustee is under a duty to ensure

that notices of the foreclosure sale and default are sent in accordance with §51.002.” Jd. In this
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case there was no notice of default sent to Plaintiffs in connection with the December 5, 2023,
foreclosure sale.

C. Breaches of Contract

_13. The August 25, 2021, Deed of Trust, Security Agreement and Fixture Filing that is the basis
for Defendants’ efforts to non-judicially foreclose upon the real properties and improvements in
issue includes in applicable part in paragraph 10.04 as follows “If Grantor fails to reasonably cure
within such 35-day period Beneficiary, at Beneficiary’s option, may then proceed to cause Trustee
to exercise the power of sale granted herein, including all statutory notice and sale provisions.” A
true and complete copy of one of the three Deed of Trust, Security Agreement and Fixture Filing
documents is attached hereto as Exhibit C and incorporated by reference herein as if fully copied
and set forth at length. This same paragraph 10.04 is included in all three Deed of Trust documents.
This provision creates a contractual duty on the trustee to meet the statutory notice and sale
provisions when exercising the power of sale. Defendant, Mark C. Taylor, acting as Substitute
Trustee, breached this duty.

14. The Forbearance Agreement provides in applicable part that “Lender agrees to forbear from
exercising its rights and remedies under the Loan Documents through December 7, 2023 (the
“Forbearance Period”), subject to paragraph (b) below and to the terms and conditions set forth
herein.” The three (3) Notice of Substitute Trustee’s Sale sent by Defendant, Mark C. Taylor, are
dated November 13, 2023, and constitute a direct and intentional violation of the terms of the
Forbearance Agreement.

D. In-State Defendant Barrier Destroys Diversity Jurisdiction

15. The claims asserted against Defendant, Mark C. Taylor, destroy complete diversity required

for diversity jurisdiction under the in-state Defendant barrier. Crockett v. R.J. Reynolds, Supra.
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Ill. CONCLUSION

16. The First Amended Complaint filed by Plaintiffs and the Plaintiffs Original Petition, filed prior
to removal, clearly and unambiguously make claims of lack of notice and breach of contract
directly against Defendant, Mark C. Taylor. Under these circumstances Defendant Mark C. Taylor
is not a nominal Defendant and his Texas citizenship also destroys complete diversity required for
this Court to have jurisdiction over this matter. In addition, in the event that leave is granted to join
Erik White as a named Defendant, the Texas citizenship of Erik White will destroy diversity
jurisdiction. Any ambiguity in Plaintiffs’ pleading is “construed against removal and in favor of
remand to the state court,” and this case must, therefore, be remanded. See Mumfrey v. CVS
Pharmacy, Inc., 719 F. 3d 392, 397 (5" Cir. 2013) (‘Any ambiguities are construed against
removal and in favor of remand to state court.”). Finally, the claims asserted against Texas citizen
Mark C. Taylor and potentially asserted against Texas citizen Erik White, destroys diversity
jurisdiction pursuant to the in-state Defendant barrier.

IV. CERTIFICATE OF CONFERENCE

17. By my signature below I certify that I conferred with attorney Mark C. Taylor in a good faith
effort to resolve the potential remand of this case to state court. Unfortunately, we were not able
to reach any agreement because Mr. Taylor believes that this matter was properly removed based
upon diversity jurisdiction and should not be remanded.

VI PRAYER
18. Based upon the above and foregoing, Plaintiffs request that the Court find that there is no
diversity jurisdiction and this case should be immediately remanded to the 438" Judicial District

Court of Bexar County, Texas, the state court from which it was previously removed.
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Respectfully submitted,

SAP SHA

David P. Strolle, Jr.
Texas Bar No: 19408700

GRANSTAFF, GAEDKE & EDGMON, P.C.
5535 Fredericksburg Road, Suite 110

San Antonio, Texas 78229

Telephone: (210) 348-6600 ext. 203
Facsimile: (210) 366-0892

E-mail: dsirolle@caglaw.net

ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE .
I hereby certify that on the LT day of January, 2024, I electronically filed the foregoing

Motion to Remand with the Clerk of the Court using the CM/ECF system which will send
notification of such filing to the following counsel of record:

Mark C. Taylor

William R. “Trip” Nix

Nicholas R. Miller

HOLLAND & KNIGHT LLP

100 Congress Avenue, Suite 1800
Austin, Texas 78701 .

Facsimile: (512) 685-6417
Email: mark.taylor@hklaw.com

trip.nix@hklaw.com
nick.miller@hklaw.com

ATTORNEYS FOR DEFENDANTS

SAPS

David P. Strolle, Jr.

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- EXHIBIT
NO. Tt

DAVIES ENTERPRISE, LLC, CRUISING §
KITCHENS, LLC, CAMERON DAVIES §
And MARY K. DAVIES §
Plaintiffs §
§ .
v. § JUDICIAL DISTRICT
§
BLUE SEY BANK and MARK C. §
TAYLOR §
Defendant § BEXAR COUNTY, TEXAS
PLAINTIFF'S ORIGINAL PETITION FOR
INJUNCTIVE RELIEF AND DAMAGES

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, DAVIES ENTERPRISE, LLC, CRUISING KITCHENS, LLC,
CAMERON DAVIES and MARY K. DAVIES (hereinafter collectively "Plaintiffs”) and file this
Original Petition against Blue Sky Bank (“BSB”) and Mark C. Taylor, Substitute Trustee (“Taylor”)
and for cause of action will respectfully show unto this Honorable Court the following:

I,
CLAIMS FOR RELIEF

Pursuant to Texas Rules of Civil Procedure 47, the Plaintiffs hereby submits this claim for
monetary relief in excess of One Million dollars ($1,000,000.00) relief. In this case, Plaintiffs are

also seeking non-monetary relief including injunctive relief.

Il,
DISCOVERY CONTROL PLAN

Plaintiffs intend to conduct discovery under Level 3 ofthe Texas Rules of Civil Procedure,

I.
PARTIES

Plaintiff, DAVIES ENTERPRISE, LLC, is a Texas Limited liability Company with its principal

office located at 2100 Mannix Drive, San Antonio, Bexar County, Texas.

Plaintiff, CRUISING KITCHENS, LLC, is a Texas Limited liability Company with its principal

office located at 2100 Mannix Drive, San Antonio, Bexar County, Texas.
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Plaintiffs, CAMERON DAVIES and MARY K. DAVIES, are individuals residing in San
Antonio, Bexar County, Texas.

Defendant, BLUE SKY BANK, ("BSB") is an out of state financial institution authorized
to do business in the State of Texas and may be served by serving Lydia Gonzales, its registered
agent, at 13750 San Pedro, Suite 275, San Antonio, Texas 78232 or wherever she may be found.

Defendant, MARK C. TAYLOR, ("Taylor") is an individual and may be served at his
office address 100 Congress Avenue, Suite 1800, Austin, Travis County, Texas 78701, or wherever

he may be found.

IV,
FACTS

I. On August 25, 2021, Plaintiffs signed several Deed of Trust, Security Agreement and
Fixture Filing documents plus Commercial Loan Agreements and associated Promissory Notes
' and/or guarantees of those obligations in favor of BSB in connection with certain loans that were
made by BSB to the Plaintiffs in connection with the purchase of the three (3) tracts of real property
described in paragraph 2 below.

2, The properties made the subject matter of this suit consist of unimproved real property
and real property and improvements located at 14732 Bulverde Road and 314 Nolan Street all of
which are located in San Antonio, Bexar County, Texas (“the Properties”). The Properties are more
particularly described on the Exhibits to the three 3) Notices of Substitute Trustee’s Sale previously filed by
Defendants. A true and correct copy of these three (3) Notices are attached hereto as Exhibits A, B and C and
are incorporated by reference herein as if fully copied and set forth at length.

3. The Deed of Trust, Security Agreement and Fixture Filings and Commercial Loan
' Agreements and associated Promissory Notes include some mandatory obligations of BSB in order
to conduct a Non-Judicial Foreclosure of the Properties. Included in BSB's obligations under the
Deed of Trust is the duty to provide Plaintiffs with proper and timely notice of default and an
opportunity to cure before BSB can accelerate the Term Loan Facilities, Commercial Loan Agreements .

and associated Promissory Notes.
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4, On or about August 14, 2023, Plaintiffs and BSB entered into a formal written

Forbearance Agreement which provides, in applicable part, as follows:

“Lender agrees to forbear from exercising its rights and remedies under the

Loan Documents through December 7, 2023 (the “Ferbearance Period”),

subject to paragraph (b) below and to the terms and conditions set forth

herein.”

A true and correct copy of the Forbearance Agreement is attached hereto as Exhibit D and is
incorporated by reference herein as if fully copied and set forth at length.
5. During the negotiations leading up to execution of the Forbearance Agreement, Mr.
Barry Gibson, Vice President of BSB, expressly represented to the Plaintiffs that if the
Plaintiffs made a payment of at least One Million dollars ($1,000,000.00) to BSB, this would
cure all defaults and allow the Parties to void the Forbearance Agreement.
6. Following execution of the Forbearance Agreement, BSB both directly and acting
though its agent, the Private Receiver/Finance Administrator, Mr. Erik White of Haney
Partners in Austin, began implementing an intentional and calculated scheme to prevent
Plaintiffs from taking actions necessary to bring the Plaintiffs obligations to BSB current.
These actions included, but where not limited to, the following:

A. Denying Plaintiffs, the ability to lease approximately fifty percent (50%) of the 314
Nolan property for rent of approximately Forty Thousand dollars ($40,000.00) per
month, The debt service for 314 Nolan is approximately Twenty-Six Thousand
dollars ($26,000.00) per month;

B. Denying Plaintiffs, the ability to extract any equity from the Properties or other real
property assets owned by Plaintiffs including removing real property assets of the
Plaintiffs that were previously listed for sale; and,

C. Interfering with and preventing Plaintiffs from reaching an agreement with Reef

Global whereby Reef Global was going to make a lump sum cash payment to
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Plaintiffs in the amount of approximately One Million Five Hundred Thousand

dollars ($1,500,000.00).

7. The Properties are currently posted for non-judicial foreclosure by Defendants on
December 5, 2023 at the Bexar County Courthouse by the Substitute Trustee, Defendant
Taylor. The Properties made the basis of the foreclosure sale are not ripe for foreclosure according
to Texas law.
8. The Properties are very valuable and essential to the business operations of Plaintiffs. The
Forbearance Agreement specifically provides by its terms that BSB will forbear and from exercising its
rights and remedies under the Loan Documents which include the Deed of Trust, Security Agreement
and Fixture Filing documents with Plaintiffs as Grantor and BSB as Beneficiary. In addition,
these same Loan Documents specifically give Plaintiffs the right to written notice of any default
and time to cure. Plaintiffs have not received timely adequate and lawful notice and BSB has no
right under Texas law to conduct a Non-J udicial Foreclosure in violation of the terms of the
Forbearance Agreement.
9. The Defendants have no legal right to foreclose on the Properties but have posted the
Properties for foreclosure in violation of the Forbearance Agreement, the Loan Documents and
Texas Law.
10. Plaintiffs further request that the Defendants be Temporary Restraining Order be issued
immediately and without notice restraining Defendants, and each of them, from proceeding with a non-
judicial foreclosure on the Properties because the Plaintiffs have a substantial amount of equity in the
Properties and foreclosure would result in an unjust enrichment to the Defendant.
Il. Plaintiffs have no adequate remedy al law and will suffer irreparable harm in that,
unless restrained by this Honorable Court, Defendants will proceed to sell the Properties in

question and foreclosure on the Deeds of Trust.
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12. Plaintiff asserts that $1,000.00 is an adequate bond for a restraining order in this case because
the collateral of the loan is real property and improvements that cannot readily be transferred

or moved anywhere.

Y.
CONDITIONS PRECEDENT

13. Plaintiffs assert that all conditions precedent to the filing of this lawsuit have occurred

and/or been waived.

VI.
BREACH OF CONTRACT

14, Defendant, Blue Sky Bank, has breached the terms of the Forbearance Agreement and the
Loan documents which has proximately caused damages to Plaintiffs for which they hereby

suc.

VIL
FRAUD
15. BSB, acting by and through its Vice President, Barry Gibson, made representations of

material facts which were false when made or were made as positive assertions that were made
recklessly without knowledge of the truth with the intent that the Plaintiffs rely upon those
misrepresentations which the Plaintiffs did to their detriment.

VOU.

TORTIOUS INTERFERENCE WITH CONTRACT

16. Defendant, Blue Sky Bank, both directly and acting through its agent, Mr. Erik White,
knowingly and intentionally interfered with a contract entered into by and between Plaintiff,
Cruising Kitchens, and third-party, Reef Global, whereby Reef Global was going to pay Cruising
Kitchens approximately One Million Five Hundred Thousand dollars ($1,500,000.00), As a result
of the acts and omissions of BSB, Reef Global did not make any payment to Cruising Kitchens
thereby causing Cruising Kitchens to suffer damages in the amount of One Million Five Hundred

Thousand dollars ($1,500,000.00) for which they hereby sue.
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IX.
DECLARATORY JUDGMENT

17. The declaratory judgment act provides that a person interest under a deed, will, written
contract, or other writing constituting a contract may have the court determine any question of the
construction of validity arising under the instrument and obtain a declaration of rights, status or
other legal relations under it. Texas Civil Practices & Remedies Code §37.004(a). Plaintiffs
request a declaratory judgment that BSB has no legal right to conduct a Non-Judicial Foreclosure
on the Properties.

X.
INJUNCTIVE RELIEF

18. Plaintiffs are entitled to injunctive relief against the Defendants and Plaintiffs will suffer
imminent and irreparable harm as a result of improper conduct of the Defendants, In particular, the
Plaintiffs will show that they have a probable right to the relief requested and they will suffer
irreparable injury as a result or the acts of the Defendants for which there is no adequate remedy
at law, Therefore, the Plaintiffs request that this Honorable Court issue injunctive relief against
the Defendants. This Plaintiffs’ Original Petition is verified as required by law.
XI.
ATTORNEY FEES

19. Plaintiffs assert that it was necessary for Plaintiffs to hire the law firm of Granstaff, Gaedke
& Edgmon, P.C. to represent Plaintiffs in this matter and enforce the Forbearance Agreement
and Loan Documents previously entered into by the Parties by filing this lawsuit. Plaintiffs
are therefore requesting reimbursement from Defendants ofallreasonable and necessary attorneys’ fees

and expenses incurred by Plaintiffs throughout the trial of this matter and any appeals

AUT.
PRAYER

WHEREFORE PREMISES CONSIDERED Piaintiffs pray that this Honorable Court issue an Ex-
Parte Temporary Restraining Order enjoining the Defendants from proceeding with the non-

judicial foreclosure sale currently scheduled for December 5, 2023 beginning at [0:00 a.m. °
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and that Defendants be cited to appear and after notice and a hearing, the Plaintiffs recover a

judgment against the Defendants for the following:

I. a Temporary Injunction after notice and a hearing;

2. actual damages in excess of the minimum jurisdictional limits of the court;

3, a finding that BSB has no right to proceed with a Non-Judicial Foreclosure;

4, reasonable and necessary attorneys’ fees; °

5. specific and general damages (including penalties);

6. prejudgment and post-judgment interest at the maximum rate allowed by law;
7, court costs; and,

8, all such other and further relief, at law or in equity to which Plaintiffs may, by this
pleading or proper amendment hereto, show themselves justly entitled.

Respectfully submitted,

GRANSTAFF, GAEDKE & EDGMON, P.C.
5535 Fredericksburg Rd., Suite 110

San Antonio, Texas 78229

Telephone: (210) 348-6600

Facsimile: (210) 366-0892

Email: dstrolle@caglaw.net

» SAPLA A

—-PMavid P, Strolle, Jr.
State Bar No. 19408700
ATTORNEY FOR PLAINTIFFS

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VERIFICATION

STATE OF TEXAS
COUNTY OF BEXAR

Before me, the undersigned notary, on this day personally appeared affiant, Cameron
Davies, a person whose identity is known to me and under oath testified as follows:

“My name is Cameron Davies, I am an officer and authorized representative of Davies
Enterprises, LLC and Cruising Kitchens, LLC. I am over 18, have never been convicted of a
crime and I am otherwise qualified to make this verification.

I have read Section IV. of the Plaintiffs’ Original: Petition for Injunctive Relief and
Damages and hereby verify that the facts stated in that Section IV. entitled Facts are within my
personal knowledge and are true and correct.”

ae SN

Cameron Davies, Individually and as
Authorized Agent of Davies Enterprises,
LLC and Cruising Kitchens, LLC

SWORN TO and SUBSCRIBED before me the undersigned notary public on this the 4F_— day
of December, 2023.

BLANCA A LIMON B b, J;
Sa Pi
Ok) Notary Public, State of Texas

PN 6/ My Comm. Exp. 06-01-2026 Notary Public, State of Texas

Rare Notary [D 13378979-2

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NO. 2023-C1-25557 : —_~_.
DAVIES ENTERPRISE, LLC, CRUISING § IN-THE DISTRICT COURT
KITCHENS, LLC, CAMERON DAVIES
And MARY K. DAVIES
Plaintiffs
¥. 438" JUDICIAL DISTRICT
BLUE SKY BANK and MARK C.

TAYLOR
Defendant

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BEXAR COUNTY, TEXAS

TEMPORARY RESTRAINING ORDER
, On December 4, 20023, the Plaintiffs Original Petition for Injunctive Relief and Damages
filed by Plaintiffs, DAVIES ENTERPRISE, LLC, CRUISING KITCHENS, LLC, CAMERON
DAVIES AND MARY K. DAVIES, seeking a Temporary Restraining Order was heard before
this Honorable Court.
Based upon the pleadings, records, documents filed by counsel, and the arguments of

counsel at the hearing, IT CLEARLY APPEARS:

A. The unless Defendants, Blue Sky Bank and Mark C Taylor, Substitute Trustee, are
immediately restrained from proceeding with a non-judicial foreclosure of the real
property and improvements described on the Exhibits to the three (3) Notices of Substitute
Trustee’s Sale attached to Plaintiffs Original Petition for Injunctive Relief and Damages
as Exhibits A, B and C, Defendants, Blue Sky Bank and Mark C Taylor, will proceed with
the non-judicial foreclosure sale on December 5", 2023 beginning at 10:00 a.m, which is
before notice and a hearing on Plaintiff's request for a temporary injunction can be held.

B. Plaintiffs will suffer irreparable harm if Defendants, Blue Sky Bank and Mark C.
Taylor, are not immediately restrained because no adequate remedy at will give
Plaintiffs complete, final relief because once the non-judicial foreclosure sale is

complete it is final.

DOCUMENT SCANNED AS FILED
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IT IS THEREFORE ORDERED, ADJUGED AND DECREED that Defendants, BLUE SKY
BANK and MARK C TAYLOR, and all of Defendants officers, agents, servants, employees,
successors and assigns, and the attorneys are ORDERED to immediately cease and desist
from proceeding with the non-judicial foreclosure sale of the real property and improvements
previously noticed. and scheduled for December 5, 2023 beginning at 10:00 a.m. from the
date of entry of this order until fourteen (14) days thereafter, or until further order of this
Court.

IT IS FURTHER ORDERED ADJUDGED AND DECREED that Plaintiff’s request for a
temporary injunction is set to be heard on December 18", 2023 at 9:00 a.m. in the Presiding .
District Courtroom (Room 109/ 1* floor) located in Bexar County Courthouse, 100 Dolorosa, fu
San Antonio, Texas 78205. Defendants, Blue Sky Bank and Mark C Taylor, are commanded

to appear at that time and show cause, if any exist, why a temporary injunction should not be

issues against said Defendants.

At the designated time above, report in-person to the Presiding Civil District Courtroom
(Room 109) located at the Bexar County Courthouse. 100 Dolorosa, San Antonio, Texas
78205. If you plan to introduce documents and evidence during your hearing, you must
prepare to share them on Zoom using personal computer or smart device equipped with a
wireless modem or air card and Zoom app or Zoom software installed, Wi-Fi may not be
available at court.

1. Time Announced is 2 hours

2. Telephone number and emails for all attorneys or self-represented

litigants .

Mark C Taylor Mark. Taylor@hklaw.com

Blue Sky Bank c/o Lydia Gonzales 13750 San Pedro, Suite 275, San

Antonio, Texas 78232.
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The Clerk of the above-entitled Court shall issue a temporary restraining order in conformity
with the law and the rems of this order upon the filing by Plaintiffs of the bond hereinafter

set.

This Order shall not be effective until Plaintiff's deposit with the Clerk, a bond in
oo

the amount of $ [OOO in conformity with the law.

DEC 04 2023
at

SIGNED and ENTERED on
Judge Presiding

Rosie Alvarada

Respectfully submitted, Presiding Judge
438th Judicial District
Bexar County, Texas

GRANSTAFF, GAEDKE & EDGMON, P.C.

5535 Fredericksburg Rd., Suite 110

San Antonio, Texas 78229

Telephone: (210) 348-6600

Facsimile: (210) 366-0892

Email: dstrole@caglaw.net

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David P. Sirolle, Jr.
State Bar No. 19408700

ATTORNEY FOR PLAINTIFFS
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Recordation Requested By:
Blue Sky Bank

3353 East 41" Street

Tulsa, Ol 74135

Send Tax Notices To:
Davies Enterprises, LLC
1314 East Sonterra Blvd.
San Antonio, TX 78258

SPACE ABOVE THIS LINE FOR RECORDER'S USE ONL
Att 21206 7GO
DEED OF TRUST, SECURITY AGREEMENT AND FIXTURE FILING
CITY OF SAN ANTONIO, COUNTY OF BEXAR, STATE OF TEXAS
[ 314 Nolan Street ]

THIS DEED OF TRUST, SECURITY AGREEMENT AND FIXTURE FILING (the
"Deed of Trust") made this 25th day of August, 2021, by and between DAVIES ENTERPRISES,
LLC, a Texas limited liability company, having a mailing address of 1314 East Sonterra Blvd,
San Antonio, Texas 78258 ("Grantor"), party of the first part, GENTNER F. DRUMMOND,
having a mailing address of Drummond Law, PLLC, 1500 South Utica Avenue, Suite 400, Tulsa,
Oklahoma 74104 ("Trustee"), party of the second part, and BLUE SKY BANK, having a mailing
address of 3353 East 41 Street, Tulsa, Oklahoma 74135 ("Beneficiary") party of the third part.

Capitalized terms herein are defined in Article 2.00.
1.00 RECITALS

1.01 The Loan. Grantor is indebted to Beneficiary for a Term Loan Facility in the
principal sum of FOUR MILLION FOUR HUNDRED SIXTY-FOUR THOUSAND FIVE
HUNDRED THIRTY-FOUR AND 00/100 DOLLARS ($4,464,534.00), as evidenced by the
Grantor's Commercial Loan Agreement of even date ("Loan Agreement") and its associated
promissory note, as well as certain commercial guarantees of repayment of said Note to the
Beneficiary under, in part, that certain Loan Agreement.

1.02 Obligations Secured. This Deed of Trust secures (a) the full and punctual payment
of the Loan according to the terms of the Note, (b) the payment of all sums due to Beneficiary
according to the terms of any of the Loan Documents, and (c) the performance of, and compliance
with, all of the obligations of Grantor (express or implied) contained in the Loan Documents.

2.60 DEFINITIONS. Whenever capitalized in this Decd of Trust, the following terms shall
have the meaning given in this Section 2.00, unless the context clearly indicates a contrary imtent.

2.01 Assignment of Leases And Rents. “Assignment of Leases and Rents" means the
general Assignment Of Leases and Rents in favor of Beneficiary executed by Grantor of even date
herewith, pursuant to which Grantor has, among other things, assigned rents under all Leases to
Beneficiary as additional security for the Loan.
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2.02 Beneficiary. “Beneficiary” means BLUE SKY BANK, Beneficiary's successors
and assigns, and any subsequent holder of the Note.

2.03 Controlling Party. “Controlling Party" means any Person, directly or indirectly,
possessing the power to direct or cause the direction of the management and policies of Grantor,
whether through the ownership or control of voting securities or rights, by contract or otherwise.

2.04 Deed of Trust. "Deed of Trust" means this instrument, including all current and
future supplements, amendments, and attachments thereto.

2.05 Default. "Default" means: (a) the failure of Grantor to perform, cause to be
performed, abide by, comply with, or observe any duty or obligation imposed upon Grantor by the
Loan Documents, if not cured within any applicable grace period; (b) the breach of any of Grantor's
watranties or covenants contained in any of the Loan Documents; (c) a misrepresentation by
Grantor, Grantor's counsel, or any other Person on behalf of Grantor, in any of the Loan
Documents; and (d) any event, happening, or condition which would constitute an Event of Default
if not cured within any applicable grace period.

2.06 Encumbrances. “Encumbrances” includes all liens, mortgages, nights, leases,
restrictions, easements, deeds of trust, covenants, agreements, rights of way, rights of redemption,
security interests, conditional sales agreements, land installment contracts, options, and all other
burdens or charges.

2.07 Event of Default. "Event of Default" has the meaning given and provided in Section
10.01.

2.08 Escrow Account. "Escrow Account" means the Account which may be maintained
pursuant to Section 6.02.

2.09 Grantor. "Grantor" means the party identified as such in the introductory paragraph
of this Deed of Trust, and Grantor's successors and assigns, including any subsequent owner of all
or any portion of Grantor's interest in the Trust Property.

2.10 Guaranty. "Guaranty" means the respective Commercial Guaranty in favor of
Beneficiary executed by the following:

(i) Cruising Kitchens, LLC;
Gi) Cameron Davies, individually; and
(iii) Mary K. Davies, Individually,

pursuant to which the above-named guarantee, among other things, the full and prompt payment
and performance of the Borrower's obligations under the Loan Documents.
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2.11 Land. "Land" means the land more particularly described in Exhibit "A" to this
Deed of Trust.

2.12 Law, "Law" means all federal, state, county, and municipal laws, regulations, rules,
and ordinances, and all rules, regulations and orders of any other governmental authority including
common law and rulings, decisions and interpretations of all judicial, quasi-judicial, and
administrative bodies.

2.13 Lease. “Lease" means each lease which purports to convey any interest of Grantor
in any portion of the Trust Property and includes subleases and assignments of leases.

2.14 Legal Action. "Legal Action" includes all suits or other proceedings brought at law
or in equity or before any administrative agency, governmental body, or arbitrator which in any
manner relate to the Trust Property or arise out of or relate to any of the Loan Documents.

2.15 Loan. "Loan" means the loan by Beneficiary to the Grantor in the principal amount
of FOUR MILLION FOUR HUNDRED SIXTY-FOUR THOUSAND FIVE HUNDRED
THIRTY-FOUR AND 00/100 DOLLARS ($4,464,534.00), as evidenced by the Note.

2.16 Loan Documents. "Loan Documents" means this Deed of Trust, the Term Note, the
Commercial Loan Agreement, the Security Agreement and the Limited Commercial Guaranties,
and any and all certificates, opinions, assignments and other documents executed in connection
herewith or therewith, and all current and future supplements, amendments, and attachments
thereto.

2.17 Note. "Note" shall mean the promissory note of Grantor of even date herewith in the
principal sum of FOUR MILLION FOUR HUNDRED SIXTY-FOUR THOUSAND FIVE
HUNDRED THIRTY-FOUR AND 00/100 DOLLARS ($4,464,534.00), payable to the order of
Beneficiary and evidencing the Loan, including all current and future supplements, amendments and
attachments thereto and having a maturity date of August 25, 2031, subject to future extensions or
modifications.

2.18 Operate, "Operate" means to operate, use, manage, lease, contract, and control,
including the right to repair, renew, replace, alter, add, better, and improve.

2.19 Penalty Rate, “Penalty Rate" means an interest rate of five (5.00%) percentage
points per annum above the contract interest rate otherwise payable on the Loan pursuant to the
terms and provisions of the Note, during the time period that the Penalty Rate is applicable,

2.20 Permitted Encumbrances. "Permitted Encumbrances" means this Deed of Trust and
all Encumbrances as to which Beneficiary has given Beneficiary's prior written approval, liens
arising for real estate taxes or public charges for sewage, water, drainage or other public
improvements not yet due and payable, liens being contested as permitted herein, and Leases not in
violation of Section 7.04.
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2.21 Person, "Person" means any individual, corporation, partnership, association, trust,
joint venture, or any other legal entity.

2.22 Property. "Property" has the meaning given in Section 3.03.

2.23 Real Property. "Real Property" means the Land, together with the improvements
and rights identified in Section 3.01 and all other portions of the Trust Property which legally may
be deemed to be real property under Section 3.07.

2.24 Rents. "Rents" includes all rents, profits, royalties, issues, revenues, income,
proceeds, earnings, and products generated by or arising out of the Trust Property.

2.25 Risk. "Risk" includes risk of loss or damage by fire, lightning, windstorm, hail,
explosion, riot, riot attending a strike, civil strife, civil commotion, aircraft, vehicles, smoke,
vandalism, malicious mischief, boiler explosion, and any other risk customarily insured against by
persons operating property similar in kind to the Trust Property.

2.26 Taking. "Taking" includes any taking by condemnation or eminent domain, any sale
in lieu of condemnation under threat thereof, the alteration of the grade of any street, or any other
injury to or decrease in the value of the Trust Property by any public or quasi-public authority or
corporation or any other person having the power of eminent domain.

2.27 Taxes. "Taxes" includes all taxes, excises, documentary stamp and transfer taxes,
recording taxes, assessments, and other public charges levied or assessed upon the Trust Property,

upon the Loan, or upon any Loan Document.

2.28 Tenant. "Tenant" means any lessee of Grantor under any Lease, and any sub-lessee
or assignee of a Lease.

2.29 Title Policy. "Title Policy" means that certain pro forma policy of title insurance
issued by Fidelity National Title, File No, FAH21006790.

2.30 Trustee. “Trustee" means Gentner F. Drummond, or any additional, successor,
replacement, or substitute trustee permitted by Section 9.02.

2.31 Trust Property. “Trust Property" has the meaning given in Section 3.06.

2.32 Uniform Commercial Code. "Uniform Commercial Code" means the Uniform
Commercial Code as adopted by the States of Oklahoma and Texas, and any amendments thereto or
reenactments thereof.

3.00 GRANTING CLAUSES.

3.01 Lien on Real Property. Grantor, in consideration of the Loan and other valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, grants and assigns to
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Trustee, in trust for the benefit of Beneficiary, all the Land situated at 314 Nolan Street, City of
San Antonio, County of Bexar, State of Texas, described more particularly in Exhibit "A"
attached hereto as a part hereof, together with (a) all buildings and improvements now or hereafter
located thereon, (b) all rights, rights of way, air rights, riparian nights, franchises, licenses,
easements, tenements, hereditaments, appurtenances, accessions and other rights and privileges now
or hereafter belonging to the Land or the buildings and improvements thereupon, now owned or
hereafter acquired by Grantor.

3.02 Lien on Fixtures and Personal Property. Grantor further grants and assigns to
Trustee all of the machines, apparatus, equipment, fixtures and articles of personal property now or
hereafter located on the Land or in any improvements thereon (other than that owned by any
Tenant), and all the right, title and interest of the Grantor in and to any of such property which may
be subject to any title retention or security agreement or instrument having priority over this Deed of
Trust.

3.03 Property. All of the property described in Sections 3.01 and 3.02 is hereinafter
collectively called the "Property."

3.04 Lien on Rents and Other Rights. Grantor further grants and assigns to Trustee, in
trust for the benefit of Beneficiary, (a) all Rents, including, without limitation, to the extent
permitted by applicable law, all cash or security deposits to secure performance by Tenants
(whether such cash or securities are to be held until the expiration of the terms of Leases or are to be
applied to one or more of the installments of rent coming due immediately prior to the expiration of
such terms), (b) all of the estate, right, title, use, claim and demand of every nature whatsoever, at
law or in equity, which Grantor may now have or may hereafter acquire m and to the Property, and
(c) all right, title and interest of Grantor in and to all extensions, betterments, renewals, substitutes
and replacements of, and all additions and appurtenances to, the Property, hereafter acquired by or
released to Grantor, or constructed, assembled or placed by or for Grantor on the Property, and all in
conversion of the security constituted thereby.

3.05 Lien on Insurance Policies and Condemnation Awards. Grantor further grants and
assigns to Trustee, in trust for the benefit of Beneficiary, all insurance policies and insurance
proceeds pertaining to the Property and all awards or payments, including interest thereon and the
right to receive the same, which may be made with respect to any of the Property as a result of any
taking or any injury to or decrease in the value of the Property.

3.06 The Trust Property. Ali of the property described in this Article 3.00 is collectively
called the "Trust Property."

3.07 Security Interest under the Uniform Commercial Code. Any portion of the Trust
Property which by law is or may be real property shall be deemed to be a part of the Real Property
for the purposes of this Deed of Trust. The remainder of the Trust Property shall be subject to the
Uniform Commercial Code and this Deed of Trust shall constitute a Security Agreement with
respect thereto. Grantor hereby grants to Beneficiary a security interest in that portion of the trust
Property not deemed a part of the Real Property for the purpose of securing performance of all of
Grantor's obligations under the Loan Documents. With respect to such security interest
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(a) Beneficiary may exercise all rights granted or to be granted a secured party under the Uniform
Commercial Code and (b) upon the occurrence of an Event of Default Beneficiary shall have a right
of possession superior to any right of possession of Grantor or any person claiming through or on
behalf of Grantor.

4.00 HABENDUM CLAUSE AND DEFEASANCES.

401 Habendum Clause. Trustee shall have and hold the Trust Property in fee simple,
upon the terms and trust herein set forth.

4.02 Termination of the Trust, If all obligations of Grantor under this Deed of Trust and
the other Loan Documents, are paid and satisfied in accordance with the terms hereof and thereof,
the estate hereby granted shall cease and the Trust Property shall be released to Grantor, at the
reasonable cost of Grantor, and Beneficiary shall promptly (within ten (10) business days) prepare
and record a release, in form reasonably acceptable to Grantor, of the Deed of Trust and all other
related instruments which have been previously recorded in connection with the Loan,

5.00 REPRESENTATIONS AND WARRANTIES.

5.01 Warranty of Title and Further Assurances. Grantor warrants that it has the right and
authority to convey the Trust Property and warrants generally title to the Trust Property and that
Grantor will execute such further assurances as may be requested.

5.02 Purpose of the Loan. Grantor warrants that the Loan is given for an actual loan of
money for business purposes and not for personal, residential or agricultural purposes.

5,03 Existence, Good Standing, Power and Authority of Grantor. Grantor is a limited
liability company of the State of Delaware, is in good standing and doing business in the State of
Texas, and will maintain Grantor's good standing and existence until all of Grantor's obligations
under the Loan Documents have been performed and satisfied. The execution and delivery of the
Loan Documents, the carrying out of the transactions contemplated by the loan Documents, and the
performance of Grantor's and any guarantor's obligations under the Loan Documents, have been
duly authorized by all necessary action and will not conflict with or result in a breach of Law or any
agreement or other instrument to which Grantor or any guarantor is bound. The Loan Documents
are valid and binding on Grantor and any guarantor thereof and are enforceable against Grantor and
each such guarantor in accordance with their respective terms, as applicable.

6.0 COVENANTS, RIGHTS, AND DUTIES OF GRANTOR GENERALLY.

6.01 Covenant to Pay Loan and to Perform Obligations under the Terms of the Loan
Documents. Grantor covenants that Grantor shall punctually (a) pay to Beneficiary the principal
and interest of the Loan and all other costs and indebtedness secured hereby according to the terms
of the Note and other Loan Documents, and (b) perform and satisfy all other obligations of Grantor
under the Loan Documents.
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6.02 Escrow Account

6.02.1 Upon written request of Beneficiary, Grantor shall pay to Beneficiary
monthly installments, each of which shall be equal to one-twelfih (1/12) of the sum of (a) the
estimated annual premiums for all insurance policies required by Sections 8.01, 8.02 and 8.03
hereof, and (b) the estimated annual Taxes pertaining to the Trust Property, to be held by
Beneficiary in the Escrow Account and disbursed by Beneficiary to pay the insurance premiums as
they become due and Taxes before any penalty or interest shall accrue thereon. Payments shall be
made on the day of the month designated by Beneficiary. No interest shall be payable by
Beneficiary on the Escrow Account unless, and then only to the extent that, applicable Law shall
otherwise require. All overpayments to the Escrow Account shall be applied to reduce future
payments to the Escrow Account, if any, or shall be returned to Grantor, in the sole discretion of

' Beneficiary.

6.02.2 Upon the reasonable written request of Beneficiary, Grantor shall pay such
additional sums into the Escrow Account as Beneficiary reasonably determines are necessary, so
that one month prior to the date Grantor is required to make payments of insurance premiums, or
Taxes, as the case may be, payments can be made therefor out of the Escrow Account.

6.02.3 Grantor hereby grants Beneficiary a security interest in the sums on deposit
in the Escrow Account to secure the obligations secured hereby, and upon the occurrence of an
Event of Default, Beneficiary may, unless prohibited by applicable Law, apply the balance of the
Escrow Account to Operate the Trust Property or to satisfy Grantor's obligations under the Loan
Documents, as Beneficiary may reasonably elect.

6.03 Compliance with Laws. Grantor shall materially comply with ail Laws a breach of
which would materially and adversely affect (a) the financial condition of Grantor, (b) the ability to
use buildings and other improvements on the Land for the purposes for which they were designed or
intended, (c) the value or status of the Trust Property, or (d) the value or status of the Trustee's title
to the Trust Property.

6.04 Notice with Respect to Ownership and Control of Grantor. If Grantor is a limited
liability company Grantor will at all times promptly notify Beneficiary of all changes in ownership
of membership interests of Grantor and any other change with respect to the identity of a
Controlling Party. At any time Beneficiary may request, Grantor shall furnish a complete statement,
sworn to under penalty of perjury by a manager/managing member of Grantor setting forth all of the
members of Grantor and the extent of their respective membership interest or control (but not their
financial interest or investment in same). In the event Grantor is aware of any other Person having a
beneficial interest in such membership interests, the statement shall also set forth the name of such
Person and the extent of all such interests.

6.05 Statement of Amount Owing and Defenses. Within thirty (30) days after its actual
receipt of a written request from Grantor, Beneficiary shall certify, in writing, the amount of
principal and interest then owing on the Loan, with Beneficiary to reasonably assist with such
calculations.
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6.06 Changes in Applicable Tax Laws. In the event (a) any Law is hereafter enacted
which imposes a Tax upon the Loan, any of the Loan Documents, or the transactions evidenced or
contemplated by any (of the Loan Documents, or (b) any Law now in force governing the taxation
of deeds of trust, debts secured by deeds of trust, or the manner of collecting any such Tax shall be
changed or modified, in any manner so as to impose a Tax upon the Loan, any of the Loan
Documents or the transactions evidenced or contemplated by any of the Loan Documents,
(including, without limitation, a requirement that revenue stamps be affixed to any or all of the Loan
Documents), Grantor promptly will pay any such tax. If Grantor fails to make prompt payment, or if
any Law either prohibits Grantor from making the payment or would penalize Beneficiary if
Grantor makes the payment, then the failure, prohibition, or penalty, shall entitle Beneficiary to
exercise all rights hereunder as though an Event of Default had occurred.

6.07 Further Assurances and Continuation Statements. Grantor from time to time (but no
more often than quarterly) shall execute, acknowledge, deliver and record, at Grantor's sole cost and
expense, all further instruments, deeds, conveyances, supplemental deeds of trust, assignments,
financing statements, transfers, and assurances as in the reasonable opinion of Beneficiary's counsel
may be reasonably necessary (a) to preserve, continue, and protect the interest of Trustee or
Beneficiary in the Trust Property, (b) to perfect the grant to the Trustee of every part of the Trust
Property, (c) to facilitate the execution of this trust, (d) to secure the rights and remedies of Trustee
and Beneficiary under this Deed of Trust and the other Loan Documents, or (e) to transfer to any
successor Trustee or purchaser at a sale hereunder the Trust Property, funds, and powers now or
hereafter held in trust hereunder. Grantor, at the prior written request of Beneficiary, shall promptly
execute any continuation statements required by the Uniform Commercial Code to maintain the lien
on any portion of the Trust Property subject to the Uniform Commercial Code.

6.08 Expenses. Grantor shall reimburse Beneficiary and Trustee for any sums actually
incurred, including attorney's fees and expenses, incurred or expended by them (a) in connection
with any action or proceeding reasonably necessary to sustain the lien, security interest, priority, or
validity of any Loan Document, (b) to protect, enforce, interpret, or construe any of their rights
under the Loan Documents, (c) for any title examination or title insurance policy relating to the title
of the Trust Property, or (d) for any other purpose contemplated by the Loan Documents. Grantor
shall, upon written demand, pay all such sums, All such reasonable sums so expended by
Beneficiary and/or Trustee shall be secured by this Deed of Trust. In any action or proceeding to
foreclose this Deed of Trust or to recover or collect the Loan, the provisions of Law allowing the
recovery of costs, disbursements, and allowances shall be in addition to the rights given by this
Section 6.08.

7.00 RIGHTS AND DUTIES OF GRANTOR WITH RESPECT TO MANAGEMENT
AND USE OF THE TRUST PROPERTY.

7.01 Control by Grantor. Until the happening of an Event of Default, Grantor shall have
the right to possess and enjoy the Trust Property and, except as prohibited by the Loan Documents,
to receive the Rents.
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7.02 Management. At all times Grantor shall provide competent and responsible
management to Operate the Trust Property. If Beneficiary so requests, all management and service
contracts involving the Trust Property shall be subject to reasonable approval in writing by
Beneficiary prior to their execution and, once approved by Beneficiary, shall not be amended or

terminated without Beneficiary's prior written approval, which approval will not be unreasonably
withheld,

7.03 Financial Statements; Books and Records. Grantor shall furnish to Beneficiary
annual financial and operating statements of Grantor and of the Trust Property. Such statements
shall show all items of income and expense for the operation of the Trust Property, shall be certified
by Grantor and shall be prepared in accordance with generally accepted accounting principles
applied on a consistent basis, All such financial and operating statements shall be supplied not later
than the dates provided for in the Loan Agreement. Grantor promptly will advise Beneficiary of
any material change in such fiscal year. Grantor agrees to make Grantor's books and records
relating to the operation of the Trust Property available for inspection by Beneficiary, upon request
at any reasonable time (but not more often than quarterly), at Grantor's principal place of business or
at such other location in the State of Texas as Beneficiary may reasonably request.

7.04 Leases. All Leases shall be subject to the prior written approval of Beneficiary,
which approval! will not be reasonably withheld. Grantor will materially comply with Grantor's
obligations under all Leases. Grantor, within thirty (30) days after the written request from
Beneficiary, shall deliver to Beneficiary a detailed list and description of all Leases with copies
thereof and such additional information as may be requested by Beneficiary. Upon demand by
Beneficiary, Grantor will transfer and assign to Beneficiary or Trustee, in a form reasonably
satisfactory to Beneficiary, Grantor's interest in any Lease as further security for the obligations
secured hereby. No such assignment shall impose upon Trustee or Beneficiary any liability to
perform Grantor's obligations under any Lease.

7.05 Enforcement of Leases, Amendment, Waiver, ete. Grantor will reasonably enforce
all Leases according to their terms and shall take such action to that end as may be reasonably
requested by Trustee or Beneficiary, regardless of whether any such Lease has been assigned to
Beneficiary or Trustee. Grantor shall not, without the prior written consent of Beneficiary, which
consent will not be unreasonably withheld, (a) cancel or terminate, or consent to or accept any
cancellation, termination, or surrender of any Lease, or permit any event with in Grantor's control to
occur which would terminate or cancel any Lease, (b) amend or materially modify any Lease,
(c) waive any material default under or breach of any Lease, (d) consent to or permit any
prepayment or discount of rent or advance rent under any Lease, or (e) give any consent, waiver, or
approval under any Lease or take any other action with respect to any Lease which may impair the
value of Beneficiary's interest in the Trust Property or the position or interest of Trustee with respect
to the Trust Property. Grantor shall materially comply with and perform all duties and obligations
imposed upon or assumed by Grantor in all Leases.

7.06 Subordination and Attornment. In the event of a foreclosure sale pursuant to this
Deed of Trust, each Tenant shall, upon prior written request, attorn to and acknowledge any
purchaser at foreclosure or grantee in lieu of foreclosure as landlord and the purchaser will not be
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required to credit any Tenant under any Lease with rent paid more than one (1) month in advance.
All Leases shall be subject and subordinate to modifications of and amendments to the Loan
Documents and any additional financing or refinancing of the Trust Property by or for Beneficiary.

7.07 Restriction on Assignment of Rents. Grantor shall not assign the Rents arising from
the Trust Property or any part thereof or any interest therein without the prior written consent of
Beneficiary. Any atternpted assignment, pledge, hypothecation, or grant without such consent shall
be null and void.

7.08 Alterations and Additional Improvements. Grantor shall make no structural
alterations or material nonstructural alterations to the Trust Property or construct any additional
improvements on the Land without the prior written consent of Beneficiary, which consent will not
be unreasonably withheld. All alterations or improvements shall be completed and paid for by
Grantor within a reasonable time. All alterations or improvements shall be erected (a) in a good and
workmanlike manner strictly in accordance with all applicable Law, (b) entirely on the Land,
(c) without encroaching upon any easement, right of way, or land of others, (d)} so as not to violate
any applicable use, height, set-back or other applicable restriction, and (¢) without permitting any
mechanic's lien to attach to the Trust Property which is not being contested as permitted in
Section 7.13. All alterations, additions, and additional improvements to the Trust Property shall
automatically be a part of the Trust Property and shall be subject to this Deed of Trust.

7.09 Restrictions on Sale and Transfer of the Trust Property. Grantor shall not permit the
Trust Property, or any part or portion thereof or any interest therein, to be transferred (whether by
voluntary or involuntary conveyance, merger, operation of law, or otherwise) without the prior
written consent of Beneficiary, which consent wil! not be unreasonably withheld. Any transferee of
the Trust Property or any part or portion thereof or any interest therein, by virtue of its acceptance of
the transfer, shall (without in any way affecting Grantor's liability under the Loan Documents) be
conclusively deemed to have agreed to assume primary personal liability for the performance of the
Grantor's obligations under the Loan Documents, This section shall not apply to any Taking, any
disposition permitted by Section 7.12, any Lease entered into in compliance with Section 7.04, or
any disposition by Trustee or Beneficiary by foreclosure hereunder or as otherwise permitted by the
Loan Documents,

7.10 Restriction on Encumbrances. Grantor shall not knowingly allow any
Encumbrances on the Trust Property except the Permitted Encumbrances. Grantor shall give
Beneficiary prompt written notice of any material default in or under any Permitted Encumbrances
and any written notice of foreclosure or threat of foreclosure. Grantor shall materially comply with
its obligations under all Permitted Encumbrances. Beneficiary may, at its election and after
providing Grantor with prior written notice and allowing Grantor a ten (10) business day period in
which to reasonably resolve the situation, satisfy any Encumbrance (other than a Permitted
Encumbrance not then in default), and Grantor shall, on demand, reimburse Beneficiary for any
reasonable sums advanced for such satisfaction together with interest at the Penalty Rate accruing
from the date of satisfaction, which sums shall be secured hereby.

7.11 Maintenance, Waste, Repair and Inspection. Grantor shall: (a) keep and maintain
the Trust Property in good order, condition, and repair and make all equipment replacements and.

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repairs reasonably necessary to insure that the security for the Loan is not impaired; (b) not commit
or suffer any waste of the Trust Property; (c) promptly protect and conserve any portion of the Trust
Property remaining after any material damage to, or partial destruction of, the Trust Property;
(d) promptly repair, restore, replace or rebuild any portion of the Trust Property which is materially
damaged or destroyed; (e) promptly restore the balance of the Trust Property remaining after any
Taking; (f) permit Beneficiary or Beneficiary's designee to inspect the Trust Property at all
reasonable times (but not more often than twice per calendar year, and only after reasonable prior
written notice to Grantor); and (g) not make any material change in the grade of the Trust Property
or permit any excavation of or on the Trust Property (except as may be reasonably necessary in
connection with Grantor’s intended development).

7.12 Removal and Replacement of Equipment and Improvements. No part of the Trust
Property, except supplies consumed in the normal course of business and operations, and items
consistent with Grantor’s work on its intended development of the Land, shall be removed from the
Land, demolished, or materially altered without the prior written consent of Beneficiary, with such
consent not to be unreasonably withheld. Grantor may, without consent and free from the lien and
security interest of this Deed of Trust, remove and dispose of any worn out or obsolete fixtures or
equipment which are a part of the Trust Property upon thirty (30) days prior written notice to
Beneficiary. Prior to or simultaneously with their removal, such fixtures and equipment shall be
replaced (if consistent with Grantor’s intended development of the Land) with fixtures or equipment
of equal or greater value. The replacement fixtures or equipment shall be free of all Encumbrances,
shall be automatically subject to the lien and security interest of this Deed of Trust, and shall be
automatically subject to the granting clauses hereof. Upon the sale of any removed fixtures and
equipment which are not replaced, the proceeds shall be applied as a prepayment of the Loan, to be
applied in inverse order of maturity. All sales shall be conducted in a commercially reasonable
manner with a bona fide effort to obtain a sale price of at least market value.

7.13 Taxes and Permitted Contests. Grantor shall pay or cause to be paid: (a) all Taxes
(other than those payable by Beneficiary from the Escrow Account) on or before the date any
interest or penalty begins to accrue or attach thereto; and (b) all lawful claims which, if unpaid,
might become a lien or charge upon the Trust Property to such an extent as to affect materially and
adversely Grantor's ability to use the Trust Property for the purposes for which it was designed or
intended. Provided however, that Grantor shall not be required to pay any Taxes or claim the
amount, validity or payment thereof which is being contested, in good faith, by appropriate legal
proceedings, and so long as, in the sole reasonable opinion of Beneficiary, no part of the Trust
Property is in material danger of being sold, forfeited or lost and the contest is not materially
impairing the security for the Loan. Upon payment thereof, Grantor shall promptly supply
Beneficiary with receipts showing the payment of the Taxes or claim.

7.14 Restrictive Covenants, Zoning, etc, No restrictive covenant, zoning change, or other
restriction affecting the Trust Property may be entered into, requested by or consented to by Grantor
without the prior written consent of Beneficiary with such consent not to be unreasonably withheld,

7.15 Preservation of Appurtenances. Grantor will do all things reasonably necessary to

preserve intact and unimpaired, all easements, appurtenances, and other interests and rights in favor
of, or constituting any portion of, the Trust Property.

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8.00 INSURANCE AND CONDEMNATION.

8.01 Casualty Insurance and Allocation in Event of Loss. Grantor shall maintain, keep
and carry casualty insurance on the Trust Property, or shail cause to be maintained, kept or carried
casualty insurance on the Trust Property, for the benefit of Grantor, Trustee and Beneficiary against
all Risks. The limits, form, co-insurance clauses, and insurer for all such policies shall be
reasonably satisfactory to Beneficiary. Grantor shall assign and deliver to Beneficiary copies of all
such policies. The policies shall contain a standard mortgagee loss payable endorsement providing
that all payments shall be made to the sole order of Trustee and Beneficiary to be applied by them in
accordance with the terms of this Deed of Trust. Within ten (10) days prior to the expiration of any
policy, Grantor shall supply Beneficiary with a renewal policy marked "Premium Paid." All
proceeds under such policies shall be paid to Trustee and Beneficiary to be applied, if no Default is
then outstanding, in accordance with the provisions of any lease on the Trust Property, or, if none,
then (a) if funds sufficient to restore the Trust Property are available from such insurance proceeds
(together with other funds supplied or caused to be supplied by Grantor) and no Default is then
outstanding, to the restoration of the Trust Property; or (b) if sufficient funds are not available to
restore the Trust Property or a Default is then outstanding, to prepayment of amounts due under the
Note, in inverse order of maturity. Ail moneys not utilized for the restoration of the Trust Property
shall be applied as a prepayment of amounts due under the Note, in inverse order of maturity. If
proceeds of insurance are used to restore the Trust Property, as aforesaid, neither Trustee nor
Beneficiary shall be obligated to see to the proper allocation thereof, nor shall any such amount so
used be deemed a payment of any indebtedness secured by this Deed of Trust. Proceeds of
insurance to be used for restoration purposes shall be held by Beneficiary and disbursed under such
terms and conditions, to such Persons, and at such times, as Beneficiary may reasonably determine.

8.02 Liability Insurance. Unless waived by Trustee and Beneficiary, Grantor will
maintain, or cause to be maintained, liability and inderonity insurance with respect to the Trust
Property in such amounts, with such companies, and subject to such terms and conditions as
Beneficiary may reasonably direct and approve. Such policies of insurance shall name Trustee and
Beneficiary as additional insureds thereunder and within ten (10) days prior to the expiration of any
such policy Grantor shall supply Beneficiary with a renewal policy marked "Premium Paid",

8.03 Business Interruption Insurance. Unless waived by Beneficiary, Grantor shall also
carry and maintain, or cause to be carried and maintained, rental interruption insurance on the Trust
Property in the same manner and under the same conditions (to the extent applicable) as provided in
Section 8.02.

8.04 Condemnation and Allocation of Condemnation Awards. Grantor, immediately
upon obtaining knowledge of the institution of any proceeding for a Taking, will notify Trustee and
Beneficiary of such proceedings. Trustee or Beneficiary may participate in any such proceedings,
and Grantor will, from time to time, deliver to Trustee or Beneficiary all instruments reasonably
requested by them to permit such participation. Any award or payment made as a result of any
Taking shall be paid to Trustee and Beneficiary, jointly, to be applied, if no Default is then
outstanding, in accordance with the provisions of any lease on the Trust Property, or, if none, then
(a) if funds sufficient to restore the remainder Trust Property are available from such award or

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payment (together with other funds supplied or caused to be supplied by Grantor) and no Default is
then outstanding, to the restoration of the remainder of the Trust Property, or (b) if sufficient funds
are not available to restore the remainder of the Trust Property, or a default is then outstanding to
prepayment of amounts due under the Note in inverse order of maturity. All moneys not utilized for
the repair or restoration of the remainder of the Trust Property shall be applied as a prepayment of
amounts due under the Note, in inverse order of maturity. The application of any award or payment
as a prepayment of amounts due under the Note shall take effect only on the actual date of the
receipt of the payment or award by Trustee and Beneficiary. In the event any payment or award is
used to restore the Trust Property, as aforesaid, neither Trustee nor Beneficiary shall be obligated to
see to the proper allocation thereof nor shall any amount so used be deemed a payment of any
indebtedness secured by this Deed of Trust. Payments or awards to be used for restoration purposes,
as aforesaid, shall be held by Beneficiary and disbursed under such terms and conditions, to such
Persons, and at such times, as Beneficiary may determine.

9.00 THE TRUSTEE(S).

9.01 Endorsement and Execution of Documents. Upon the written request of Beneficiary,
Trustee shall, without liability or notice to Grantor, execute, consent to, or join in any instrument or
agreement in connection with or reasonably necessary to effectuate the purposes of the Loan
Documents. Grantor hereby irrevocably designates Trustee as Grantor's attorney-in-fact to execute,
acknowledge, and deliver, on Grantor's behalf and in Grantor's name, all instruments or agreements
necessary to implement the provisions of Section 3.07, contemplated by Section 6.07, or necessary
to further perfect the lien created by this Deed of Trust on the Trust Property. This power of
attomey shall be deemed to be coupled with an interest and shall survive any disability of Grantor.

9.02 Substitution of Trustee(s). Beneficiary may, by filing a deed of appointment in the
office where this instrument is recorded, appoint additional or replacement trustees and may remove
Trustee, from time to time, with notice to Grantor and Trustee and without specifying any reason.
In the event of the death of Trustee, Beneficiary shall be entitled to seek the appointment of a
successor Trustee pursuant to the provisions of the operative statutes then in effect.

9.03 Terms of Trustee's Acceptance. Trustee accepts the trust created by this Deed of
Trust upon the following terms and conditions.

9,03.1 Trustee may reasonably exercise any of Trustee's powers through
appointment of attorneys-in-fact or agents.

9.03.2 Trustee shall not be liable for any matter or cause arising under this Deed of
Trust or in connection therewith except by reason of Trustee's own willful misconduct.

9.03.3 Trustee may select and employ legal counsel at the reasonable expense of
Grantor.

9.03.4 Trustee shall be under no obligation to take any action upon any Event of
Default unless Trustee is furnished security or indemnify, in form reasonably satisfactory to Trustee,
against costs, expenses, and liabilities actually incurred by Trustee.

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9.03.5 A Trustee may resign upon thirty (30) days written notice to Beneficiary and
Grantor.

9.04 Trustee's Reimbursement. Grantor shall reimburse Trustee for all reasonable
disbursements and expenses incurred by reason of this Deed of Trust.

9.05 Save Harmless Clause. Grantor shall indemnity and save harmless Beneficiary and
Trustee, singularly and jointly, from all costs and expenses, including reasonable attorneys' fees,
incurred by them or any of them by reason of this Deed of Trust, including any Legal Action to
which Beneficiary or Trustee shall become a party, Any money so paid or expended by Beneficiary
or Trustee shall be due and payable upon demand and shall be secured by this Deed of Trust.

10.00 DEFAULT.

10.01 Event of Default. Events of Default are expressed in Article VII of the Loan
Agreement.

10.02 Payment or Performance by Trustees or Beneficiary. Upon Default, Trustee or
Beneficiary may, at their option, make any payments or take any other actions they reasonably
deem necessary or desirable to cure the Default or conserve the Trust Property. Grantor shall, upon
written demand, reimburse Trustee or Beneficiary for all reasonable sums so advanced or expenses
incurred by them, together with interest at the Penalty Rate from the date of advance or payment of
the same, which sums shall be secured by this Deed of Trust. In such event, and to the extent
permitted by applicable law, Trustee or Beneficiary may enter upon the Trust Property with prior
written notice to Grantor or judicial process and may take any reasonable action to enforce Grantor's
rights under this Section 10.02 without liability to Grantor.

10.03 Possession by Trustees or Beneficiary. Upon the occurrence of an Event of Default
and to the extent permitted by applicable law, Trustee or Beneficiary may enter upon and take
possession of the Trust Property without notice to Grantor, judicial process, or the appointment of a
receiver. To the extent permitted by applicable law, Trustee or Beneficiary may exclude all persons
from the Trust Property and may proceed to operate the Trust Property and receive all Rents.
Trustee or Beneficiary and Trustee shall have the right as agent for Grantor, either in the name of
Grantor or otherwise. Neither Trustee nor Beneficiary shall be liable to Grantor for taking
possession of the Trust Property, as aforesaid, nor shall they be required to make repairs or
replacements, and they shall be liable to account only for Rents actually received by them. All Rents
collected by Trustee or Beneficiary shall be applied to the extent permitted by applicable law
(a) first, to pay all expenses incurred in taking possession of the Trust Property, (b) second, to pay
costs and expenses to Operate the Trust Property and/or to comply with the terms of the Loan
Documents, including reasonable attorney's fees, (e) third, to pay all sums secured by the Loan
Documents in the order of priority selected by Beneficiary, and (d} fourth, with the balance, if any,
to Grantor or such other Person as may be entitled thereto. Neither the Assignment of Rents and
Leases nor any other assignment of Leases shall impose upon Trustee or Beneficiary any liability to
perform Grantor's obligations under any Lease.

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10.04 Acceleration of the Note. Upon an Event of Default, pursuant to the grant of the
power of sale as provided hereinabove, Beneficiary shall be entitled to exercise the provisions
providing for a foreclosure by power of sale; PROVIDED, HOWEVER, that in connection with
such election, Beneficiary shall first give Grantor a written notice of Beneficiary's intention to
foreclose by power of sale hereunder addressed to Grantor as provided herein (the Notice"). Such
Notice shall (i) state with reasonable specificity, the nature of the events of default hereunder, (ii)
advise Grantor that Grantor has the right to cure such default for a period of thirty-five (35) days
from the date of sending of the Notice and thereby reinstate this Deed of Trust, (iii) advise Grantor
of the amount of money or action necessary to effect a cure, and (iv) advise Grantor that the Loan
secured hereby may be accelerated and the Deed of Trust foreclosed through power of sale if such
event of default is not so cured within such 35-day period. If Grantor fails to reasonably cure within
such 35-day period Beneficiary, at Beneficiary's option, may then proceed to cause Trustee to
exercise the power of sale granted herein, including all statutory notice and sale provisions.
Acceleration of maturity, once claimed by Beneficiary, may at the option of Beneficiary, be
rescinded by written acknowledgment to that effect by Beneficiary, but the tender and acceptance of
partial payments alone shall not in any way affect or rescind such acceleration of maturity.

10.05 Collection of Rents. Upon the occurrence of an Event of Default and written
demand by Beneficiary to the Tenants, all Rents shall be payable directly to Beneficiary.

10.06 Judicial Foreclosure and Power of Sale. Beneficiary may, without notice, demand
or presentment, which are hereby waived by Grantor, declare the entire unpaid balance immediately
due and payable and Beneficiary may proceed to foreclose this Deed of Trust through judicial
proceedings, and in the event of judicial foreclosure, the Court shall direct the sale of the Mortgaged
Property to be with or without appraisement, as Beneficiary may elect at the time judgment is
rendered.

As an alternative to the foregoing, Grantor assents to the sale of the Trust Property by
Trustee upon the occurrence of an Event of Default and Grantor authorizes and empowers Trustee,
upon the occurrence of an Event of Default, to sell Grantor's interest in the Trust Property, in
accordance with the property laws of the State of Texas, in accordance with the Texas Property
Code Section 51.004 ("the Act") or any other Law. The Trust Property or any interest therein may
be sold upon such terms and iii as many parcels as Trustee may, in Trustee's sole discretion, elect.

10.07 Application and Proceeds of Sale. Upon a foreclosure sale, the purchaser shall
receive that portion of or interest in the Trust Property purchased by it free from any claims of
Grantor and without any liability to see to the application of the purchase money. The net proceeds
from the sale, after deduction of all costs of the sale, shall be applied in accordance with applicable
provisions of the Act.

10.08 Deficiency of Proceeds. If, after a foreclosure sale, a deficiency exists in the net

proceeds of such sale, Beneficiary shall be entitled to a deficiency judgment or decree for such
deficiency which shall bear interest at the Penalty Rate.

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10.09 Insurance or Condemnation after Deficiency. If the Trust Property is sold at a
foreclosure sale prior to receipt of a condemnation award or payment, Beneficiary shall receive and
apply the proceeds of the award or payment toward the satisfaction of any deficiency resulting from
the foreclosure sale, whether or not a deficiency judgment is sought, recovered, or denied.

10.10 Right of the Beneficiary to Bid. Beneficiary and/or Trustee may bid and become the
purchaser at a foreclosure sale under this Deed of Trust.

10.11 Trustee's Bond. Grantor waives any right to require the person authorized to make
the sale to post a bond in any foreclosure proceeding.

10.12 Appointment of a Receiver. Upon the occurrence of an Event of Default,
Beneficiary shail be entitled to the immediate appointment of a receiver for the Trust Property,
without regard to the value of the Trust Property or the solvency of any person liable for payment of
the amounts due under the Loan Documents.

10.13 Remedies Cumulative. All rights, powers, and remedies of Beneficiary or Trustee
provided for in the Loan Documents are cumulative and concurrent and shall be in addition to and
not exclusive of any appropriate legal or equitable remedy provided by Law or contract. Exercise of
any right, power, or remedy shall not preclude the simultaneous or subsequent exercise of any other
by Beneficiary or Trustee.

10.14 Rights under the Uniform Commercial Code. Upon the occurrence of an Event of
Default, Grantor shall assemble and make available to Beneficiary and Trustee those portions of the
Trust Property which consist of personal property at a place to be designated by Trustee, and
Beneficiary and Trustee may exercise all the rights and remedies of a secured party under the
Uniform Commercial Code. Any notices required by the Uniform Commercial Code shall be
deemed reasonable if mailed certified mail, return receipt requested, postage prepaid, by Beneficiary
or Trustee to Grantor. Disposition of the Trust Property shall be deemed commercially reasonable
if made pursuant to a public offering advertised at least twice in a newspaper of general circulation
in the County where the Trust Property is located.

10.15 Right to Determine Which Leases Survive, \f disclosed in the advertisement of a
sale, a foreclosure sale may be made subject to one or more Leases of the Trust Property.

11.00 MISCELLANEOUS.

11.01 Waivers. No term of any Loan Document shall be deemed waived unless the waiver
shall be in writing and signed by the parties making the waiver. Any failure by Beneficiary or
Trustee to insist upon Grantor's strict performance of any of the terms of the Loan Documents shall
not be deemed or construed as a waiver of those or any other terms. Any delay in exercising or
enforcing any rights with respect to a Default or an Event of Default shall not bar Beneficiary or
Trustee from exercising any rights under the Loan Documents, or at law or in equity.

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11.02 Consents.

11,02.1 Beneficiary may (a) release any person liable under the Loan Documents,
(b) release any part of the security, (c} extend the time of payment of the Loan, and/or (d) modify
the terms of the Loan Documents, regardless of consideration and without notice to or consent by
the holder of any subordinate lien on the Trust Property. No release, extension or modification of
the security held under the Loan Documents shall impair or affect the lien of this Deed of Trust or
the priority of such lien over any subordinate lien. ,

11.02.2 Regardiess of whether a Person has been given notice or has given its prior
consent, it shall not be relieved of any obligation under any Loan Document by reason of (a) the
failure of Beneficiary, Trustee, or any other Person to take any action, foreclose, or otherwise
enforce any provision of the Loan Documents, (b) the release of any other Person liable under any
Loan Document, (c) the release of any portion of the security under the Loan Documents, or (d) any
agreement or stipulation between any subsequent owners of the Trust Property and Beneficiary
extending the time of payment or modifying the terms of any Loan Document.

11.03 Headings. All Article and Section headings are for convenience only and shall not
be interpreted to enlarge or restrict the provisions of this Deed of Trust.

11.04 Notices. All notices shall be in writing and, unless otherwise specified in a written
notice, shall be sent to the respective addresses of the parties as follows:

Beneficiary: Blue Sky Bank
3353 East 41* Street
Tulsa, Oklahoma 74135
Attention: Jay Swali, Vice President

Grantor: Davies Enterprises, LLC
1314 East Sonterra Blvd.
San Antonio, Texas 78258
Attention: Cameron Davies, Manager

Trustee: Gentner F. Drummond, Esq.
Drummond Law, PLLC
1500 South Utica Avenue, Suite 400
Tulsa, Oklahoma 74104

A notice may be hand-delivered or mailed, postage prepaid, first class, registered or certified
mail or by a nationally recognized overnight delivery service. Any notice sent by mail shall be
deemed to have been received on the second (2nd) business day following the date of mailing.
Notices sent by overnight delivery service shall be deemed to have been received on the first
business day following deposit with such delivery service.

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A notice may be hand-delivered or mailed, postage prepaid, first class, registered or certified
mail or by a nationally recognized overnight delivery service. Any notice sent by mail shall be
deemed to have been received on the second (2nd) business day following the date of mailing.
Notices sent by overnight delivery service shall be deemed to have been received on the first
business day following deposit with such delivery service,

11.05 Binding Effect. No transfer of any portion of the Trust Property or any interest
thereon shall relieve any transferor of its obligations under the Loan Documents. No transferor of
any obligation under any Loan Document shall be relieved of its obligations by any modification of
any Loan Document subsequent to the transfer.

11.06 Amendment. No Loan Document may be modified except in writing signed by
(a) Beneficiary and/or Trustee, and (b) Grantor.

11.07 Severability. In the event any provision of this Deed of Trust shall be held invalid or
unenforceable by any court of competent jurisdiction, such holding shall not invalidate or render
unenforceable any other provision hereof.

11.08 Notices from Governmental Authorities Affecting the Trust Property. Any notice
from any governmental or quasi-governmental authority or corporation with respect to the Trust
Property sent to or known by Grantor shall be promptly transmitted to Beneficiary and Trustee.

11.09 Applicable Law. All Loan Documents shall be governed by the Laws of the State of
Oklahoma without regard to the principles of conflict of laws.

11.10 Time of the Essence. Time is of the essence with respect to the Loan Documents.

11.11 Effect of Payments. Any payment or other performance made in accordance with
the Loan Documents by any Person other than Grantor shall not entitle such Person to any right of
subrogation under the Loan Documents, unless expressly consented to in writing by Beneficiary.

11.12 Word Forms. The use of any gender, tense, or conjugation herein shall be applicable
to all genders, tenses and conjugations. The use of the singular shall include the plural and the plural
shall include the singular.

11.13 Usury. Notwithstanding any provision herein or in the Note, the total liability for
payments in the nature of interest shall not exceed the limits now imposed by the usury laws of the
State of Oklahoma, or if the holder of the Note and this Deed of Trust shall ever be entitled to
receive, collect or apply, as interest on the indebtedness, any amount in excess of the maximum
legal rate of interest permitted to be charged by applicable law, and, in the event any holder of the
Note and this Deed of Trust ever receives, collects or applies, as interest, any such excess, such
amount which would be excessive interest shall be applied to the reduction of the unpaid principal
balance of the indebtedness, and if the principal balance of the indebtedness is paid in full, any
remaining excess shall be forthwith paid to Beneficiary. In determining whether or not the interest
paid or payable under any specific contingency exceeds the highest lawful rate, Beneficiary and

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Grantor shall, to the maximum extent permitted under applicable law: (a) characterize any
non-principal payment as an expense, fee or premium rather than as interest; (b) exclude voluntary
prepayments and the effects thereof; and (c) "spread" the total amount of interest on this Note
throughout the entire term hereof so that the interest rate is uniform throughout the entire term
thereof.

EXECUTED the day and year first written hereinabove.

GRANTOR:
Signed, sealed and delivered DAVIES ENTERPRISES, LLC
In the gxesence of: a Texas Limited Liability Company
_C- |? — (SEAL)
F Witness y: Cameron Davies, Manager

State of Tex o§$

County of Besar

Sworn to and subscribed before me this 9 4 day of August, 2021, by Cameron Davies, the
Manager of Davies Enterprises, LLC, personally known to me or proved to me on the basis of
satisfactory evidence to be the person who appeared before me, and he acknowledged said
instrument to be his free act and deed and the free act and deed of the limited liability company.

Nofity Public
ANE JOSHUA DAVI
er Notary ID #131731063 My Commission Expires: 7 /ioled
a) My Commission Expires
September 20, 2022 (AFFIX NOTARY SEAL)

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THE STATE OF TEXAS §§
§
COUNTY OF BEXAR §
BEFORE ME, the undersigned authority, on this day personally appeared Cameron
Davies, Manager of Davies Enterprises, LLC, a Texas limited liability company, known to me to
be the person whose name is subscribed to the foregoing instrument, and he acknowledged to me

that he executed.the same for the purposes and consideration therein expressed, in the capacity
therein stated and as the act and deed of said limited liability company.

GIVEN UNDER MY HAND AND SEAL OF OFFICE on this the 2 Y day of
August, 2021,

—
STAMP NAME AND DATE OF Qe
EXPIRATION OF COMMISSION NOTARY PUBLIC, STATE OF TEXAS
BELOW:

SER JOSHUA DAVIES
i Notary ID #131731063

a kf My Commission Expires
Pore’ = September 20, 2022

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Exhibit "A"

Legal Description

(Property Address: 314 Nolan Street, San Antonio, Texas 78 )

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EXHIBIT “A”

A 3,78 ACRE TRACT OF LAND OUT OF N.C.B, 558, BLOCK 39, CITY OF SAN
ANTONIO, BEXAR COUNTY, TEXAS, AND BEING THAT SAME 3.452 ACRE TRACT
DESCRIBED IN DEED TO LANE AVENUE ASSOCIATES, LW, OF RECORD IN VOLUME
15869, PAGE 1763 , OFFICIAL PUBLIC RECORDS, BEXAR COUNTY, TEXAS, A TRACT
CALLED A PORTION OF LOT 1, BLOCK 39, N.C.B. 558, DESCRIBED IN DEED TO LANE
AVENUE ASSOCIATES, LLC, OF RECORD IN VOLUME 16489, PAGE 716 , OFFICIAL
PUBLIC RECORDS, BEXAR COUNTY, TEXAS, A TRACT CALLED THE NORTH 42.2
FEET OF LOT 8, BLOCK. 39, N.C.B, 558, AS DESCRIBED 1/4 DEED TO LANE AVENUE
ASSOCIATES, LLC, OF RECORD IN DOCUMENT NO. 20180083243 , OFFICIAL PUBLIC
RECORDS, BEXAR COUNTY, TEXAS, A TRACT CALLED THE SOUTH 37.2 FEET OF
THE NORTH 79.4 FEET OF LOT 8, BLOCK 39, N.C.B. 558, AS DESCRIBED IN DEED TO
LANE AVENUE ASSOCIATES, LLC, OF RECORD IN DOCUMENT NO. 20180092983 ,
OFFICIAL PUBLIC RECORDS, BEXAR COUNTY, TEXAS, AND TRACTS I, II AND III,
AS DESCRIBED IN DEED TO LANE AVENUE ASSOCIATES, LW, OF RECORD IN
DOCUMENT NO. 20180130296 , OFFICIAL PUBLIC RECORDS, BEXAR COUNTY,
TEXAS AND BEING MORE PARTICULARLY DESCRIBED BY METES AND BOUNDS
AS FOLLOWS:

NOTE: (BASIS OF BEARING IS TEXAS SOUTH CENTRAL ZONE, NAD83.)

BEGINNING: At a point in the west right of way line of Union Pacific Rail Road and the south
right of way line of Nolan Street (Variable Width Right of Way), for the northeast corner of the
3.452 Acre Tract and This Tract, and the POINT OF BEGINNING, from which a PK nail found
for reference bears S 00°16'46" E, a distance of 5.41 feet;

THENCE: § 00°16'46" E, 410.72 feet, departing the south right of way line of Nolan Street, with
the west right of way line of the Union Pacific Rail Road and the east line of the 3.452 Acre
Tract and This Tract to a VC iron rod found in the north right of way line of Dawson Street (33.2
Foot Right of Way), for the southeast corner of the 3.452 Acre Tract and This Tract;

THENCE: § 89°35'14" W, departing the west right of way line of Union Pacific Rail Road, with
the north right of way line of Dawson Street and the south line of the 3.452 Acre Tract and This
Tract, at a distance of 356.92 feet passing a 34" iron rod found for the southeast corner of the
southern most tract conveyed to Lane Avenue Associates, LLC, of record in Document No.
20180130296 , Official Public Records, Bexar County, Texas, and the southwest comer of the
3.452 Acre Tract and continuing with the south line of the southern most Lane Avenue
Associates; LLC Tract, This Tract and the north right of way line of Dawson Street, for a total
distance of 416.47 feet to a 34" iron rod found in the east right of way line of Chestnut Street for
the southwest comer of the southern most Lane Avenue Associates, LLC Tract, and This Tract;

THENCE: N 00°16'46" W, 194.91 feet, departing the north right of way line of Dawson Street,
with the east right of way line of Chestnut Street, the west line of 3 tracts conveyed to Lane
Avenue Associates, LLC., of record in Document No. 20180130296 , Official Public Records,
Bexar County, Texas, a tract conveyed to Lane Avenue Associates, LLC, of record in Document
No. 20180092983 , Official Public Records, Bexar County, Texas, and another tract conveyed to
Lane Avenue Associates, LLC, of record in Document No. 20180083243 , Official Public
Records, Bexar County, Texas, and a west line of This Tract to a W' iron rod with cap stamped

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"RICKMAN" set in the south right of way line of Booker Street (27.8 Foot Right of Way — not
open on the ground) for the northwest corner of the Lane Avenue Associates, LLC, Tract
conveyed in Document No. 20180083243 , Official Public Records, Bexar County, Texas, and
This Tract;

THENCE: With the south, east and north lines of Booker Street, a north line of the Lane Avenue
Associates, LLC, Tract conveyed in Document No. 20180083243, Official Public Records,
Bexar County, Texas, and a north, west and south line of the 3.452 Acre Tract and This Tract,
the following calls and distances:

N 89°35'14" E, at a distance of 59.17 feet, passing a 'A" iron rod found for the northeast corner -
of the Lane Avenue Associates, LLC, Tract conveyed in Document No. 20180083243, Official
Public Records, Bexar County, Texas, and a northwest corner of the 3.452 Acre Tract and This
Tract and continuing for a total distance of 111.87 feet to a 14" iron rod found for the southeast
comer of the east terminus of Booker Street and a reentrant corner of the 3.452 Acre Tract and
This Tract;

N 00°16'46" W, 27.52 feet to a Y2" iron rod found for the northeast comer of the east terminus
of Booker Street and a reentrant corner of the 3.452 Acre Tract and This Tract; § 89°35'14" W,
52.32 feet to a 'A" iron rod found for the southeast corner of a tract conveyed to Ricardo &
Lourdes M. Ramirez, of record in Volume 15364, Page 494, Official Public Records, Bexar
County, Texas, and a southwest corner of the 3.452 Acre Tract and This Tract;

THENCE: N 00°16'46" W, 45.37 feet, with the east line of the Ramirez Tract and the west line
of the 3.452 Acre Tract and This Tract, to a 'A" iron rod with cap stamped "RICKMAN" set for
the southeast corner of the Tract called a Portion of Lot 1, and the northeast corner of the
Ramirez Tract, and a reentrant commer of This Tract;

THENCE: § 89°35'14" W, 59.55 feet, departing the west line of the 3.452 Acre Tract, with the
north line of the Ramirez Tract, the south line of the Tract called a portion of Lot 1 and This
Tract, to a 'A" iron rod with cap stamped "RICKMAN" set in the east right of way line of
Chestnut Street (34 Foot Right of Way) for the northwest corner of the Ramirez Tract, the
southwest corner of the Tract called a portion of Lot 1, and the most westerly southwest corner
of This Tract;

THENCE: N 00°16'46" W, with the east right of way line of Chestnut Street, the west line of the
Tract called a Portion of Lot 1, and This Tract, at a distance of 52 feet passing a 'A" iron rod
found for the northwest corner of the Tract called a Portion of Lot 1 and the most westerly
southwest corner of the 3.452 Acre Tract, continuing with the west line of the 3.452 Acre Tract
for a total distance of 129.87 feet to a 1/2" iron rod found for the south corner of the southeast
cutback corner of the intersection of Chestnut Street and Nolan Street, for a northwest corner of
the 3.452 Acre Tract and This Tract;

THENCE: N 44°01'39" E, 8.54 feet, with the southeast line of the southeast cutback corner of
Chestnut Street and Nolan Street, and a northwest line of the 3.452 Acre Tract and This Tract, to
a 1/2" iron rod found for the north corner of the southeast cutback corner, and a northwest corner
of the 3.452 Acre Tract and This Tract;

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THENCE: With the south right of way line of Nolan Street, and the north line of the 3.452 Acre
Tract and This Tract, the following calls and distances:

N 89°35'14" E, 53.58 feet to a 1/2" iron rod found for an angle point;
N 00°16'46" W, 6.95 feet to a point for an angle point;

N 89°35'14" E, 356.92 feet to the POINT OF BEGINNING and containing 3.78 acres of land in
the City of San Antonio, Bexar County, Texas.
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EXHIBIT “A”

A 0.06 ACRE TRACT OF LAND OUT OF LOT 1, BLOCK. 39, N.C.B, 358, CITY OF SAN
ANTONIO, BEXAR COUNTY, TEXAS, AND BEING THAT SAME TRACT OF LAND
DESCRIBED IN DEED TO RICARDO AND LOURDES M. RAMIREZ OF RECORD IN
VOLUME 15365, PAGE 494, OFFICIAL PUBLIC RECORDS, BEXAR COUNTY, TEXAS,
AND BEING MORE PARTICULARLY DESCRIBED BY METES AND BOUNDS AS
FOLLOWS: NOTE: (BASIS OF BEARING IS TEXAS SOUTH CENTRAL ZONE, NAD83.)

BEGINNING: At a PK Nail found in the east right of way line Chestnut Street (34 Foot Right of
Way), for a southwest corner of a 3.78 Acre Tract described in deed to 314 Nolan, LLC, of
record in Document No. 20210048798, Official Public Records, Bexar County, Texas, and the
northwest corner of This Tract and the POINT OF BEGINNING;

THENCE: N 89°35'14" E, 59.55 feet, departing the east right of way line of Chestnut Street, with
a south line of the 3.78 Acre Tract and the north line of This Tract to a 'A" iron rod with cap
stamped "RICKMAN" found for a reentrant corner of the 3.78 Acre Tract and the northeast
comer of This Tract;

THENCE: § 00°16'46" E, 45.37 feet, with a west line of the 3.78 Acre Tract and the east line of
This Tract to a’ " iron rod with cap found in the north right of way line of Booker Street (27. 8
Foot Right of Way) for the southeast corner of This Tract;

THENCE: § 89°35'14" W, 59.55 feet, with the north right of way line of Booker Street and the
south line of This Tract to a V2" iron rod with cap stamped "RICKMAN" set for the intersection.
of the east right of way line of Chestnut Street and the north right of way line of Booker Street
and the southwest corner of This Tract;

THENCE: N 00°16'46" W, 45.37 feet with the east right of way line of Chestnut Street and the
west line of This Tract to the POINT OF BEGINNING and containing 0.06 acres of land in the
City of San Antonio, Bexar County, Texas.
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File Information

eFILED IN THE OFFICIAL PUBLIC eRECORDS OF BEXAR COUNTY
LUCY ADAME-CLARK, BEXAR COUNTY CLERK

Document Number: 20210236808
Recorded Date: August 26, 2021
Recorded Time: 2:50 PM

Total Pages: 26

Total Fees: $122.00

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** Do Not Remove **

Any provision herein which restricts the sale cr use of the described real property because of race is invalid
and unenforceable under Federal law

STATE OF TEXAS, COUNTY OF BEXAR

| hereby Certify that this instrument was eF[LED in File Number Sequence on this date and at the time
stamped hereon by me and was duly RECORDED in the Official Public Record of Bexar County, Texas on:
8/26/2021 2:50 PM

\ Hate, Aeotarne- Chane

# Lucy Adame-Clark
Bexar County Clerk

